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IN THE UNITED STATES I)ISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

 

Civil Action No. l:lS-cv»l lSSS-NMG
GIANNA KRSTIC,

Plaintiff`,
v. ORAL ARGUMENT REQUESTED

SOFREGEN MEDICAL, INC., and
ALLERGAN, INC.,

Defendants.

 

 

MOTION 'I`O I)ISMISS OF DEFENDANT SOFREGEN MEDICAL. INC.

Pursuant to Rule ]2(b)(6) of the Federal Rules of Civil Procedure, Defendant Sofregen
Medical, Inc. (“Sofregen”) hereby moves to dismiss with prejudice Plaintiff’s Amended
Complaint for failure to state a claim upon which relief can be granted. The grounds in support
of this motion are set forth in the accompanying Memorandum of Law.

WHEREFORE, Sofregen respectfully request that its l\/Iotion to Dismiss be GRANTED.

REQUEST FOR ORAL ARGUMENT
Pursuant to Local Rule 7.l(d), Sofregen wishes to be heard and requests a hearing to

assist the Court in its resolution of this l\/lotion.

